Case 7:06-cv-00023-R Document1 Filed 02/10/06 Pageiof14 PagelD1

COMPLAINT UNDER 42 USC § 1983, CIVIL RIGHTS ACT-T] CHIR Rue 857 RICT COURT

THERN ISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT COURT FILED
FOR THE Ltr DISTRICT [OF TEXAS
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CLERK, U.S. DISTR
Plaintiff's fame and [ID Number By K, ICTCOURT

Sames MIRED Ui T
Place of Confinement CASE ah ome 0 6 C V ~ 0 2 3 - R

(Clerk will assign the number)
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Deputy

Debota ford

Defendant’s name and address

GARY WEST
Defendant’s name and address
LinDA kK. Daniel
Defendant’s name and address

(DO NOT USE “ET AL.”)

I. PREVIOUS LAWSUITS:

A. Have you filed any other lawsuits in the state or federal court relating to
imprisonment? A YES NO

B. If your answer to “A” is yes, describe each lawsuit in the space below. (If there is more than one lawsuit,
describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit: JAA) u Aly 2OC /

2. Parties to previous lawsuit:
Plaintiff(s): “OR By Bhaw
Defendant(s): oD) Ekiley G Lt 1. €7T A ~
i = :
3. Court (If federal, name the district; if state, name the county) Se Uv TH ER A

4
4. Docket Number: C ~O1~OC S
}

5. Name of judge to whom case was assigned: B : JAn Ce CLL, 5 [Ew

6. Disposition: (Was the case dismissed, appealed, still pending?)

Defend avds Age Afbeal, Vy D-s hier Covad s Rul. Ne
7. Approximate date of disposition: PA LOL

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Il. PLACE OF PRESENT CONFINEMENT: MNES I| £0 U1 T

III. EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted both steps of the grievance procedure in this institution? k YES _  £.NO

Attach a copy of the Step 2 grievance with the response supplied by the prison system.

Step ib AGIED Ju le AZT Qe05
IV. PARTIES TO THE SUIT:

A. Name of address of plaintiff: PoZBB 4 Plow J / / oe 4oo sf
divi FM 36¢ w ~ Gowan fakk, TA T6307

B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

Defendant #1 . Ody i D2 OW Seore- Cokgecrt Ord Z off fi Ce.
Aiea onir Alor +n _ 369 w. Tow Pare, TA TO3C7
Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.

SEE ATTACHMERT
Defendant #2: Danny Hokterd _ iv AkdE AJ Al. Led UA 7
OL Fm36¢ * Tow fark, TR T6367

—

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
S& ArradhMerT
Defendant #3: ERA wk Hop, E Acc ESS TT? Cont Adni Ad:
Pe. BOX _99 —_ Howtsvie , TEXAS 7 7IVE
Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
SEE ArTxHe HM Ens T~
Defendant #4: Jomm y AI OR WOOL) ~ MAID ~ ALLLEOD UT
Rig) fm 369 pws fre, TR 76367
Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
SG€ ArrK#kcudeEal
Defendant #5: Kichtad wAlhen—Ass.i7 witiden Whey vur
AQiel ~M_ 369 WwW. Tows4 PRK TR _ 7OS3CT
Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
Sce ArtmchMenT
V. STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give any
iegal argument or cite any cases of statutes. If you intent to allege a number of related claims, number and set
forth each claim in a separate paragraph. Attach extra pages if necessary, but remember that the complaint
must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR

COMPLAINT. Se ArrAt il ha wr

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VI. RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite not cases or
statutes.

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VII. BACKGROUND INFORMATION:
A. State, in complete form, all names you have ever used or been known by including any and all aliases:

DaBB J DPKEWA)

B. List all TDCJ-ID identification numbers you have ever been assigned and all other state or federal prison
or FBI numbers ever assigned to you, if know to you.

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VIII. SANCTIONS:

A. Have you been sanctioned by any court as a result of any lawsuit you have filed?

X_ YES _ NO

B. If your answer is “yes”, give the following information for every lawsuit in which sanctions were

imposed. (If more than one, use another piece of paper and answer the same questions.)

1. Court that imposed sanctions (If federal, give district and division): WESTEL. AD

Case Number:

2
3. Approximate date sanctions were imposed:
4. Have the sanctions been lifted or otherwise satisfied? x YES NO

C. Has any court ever warned or notified you that sanctions could be imposed? YES NO

D. If your answer is “yes”, give the following information for every lawsuit in which warning was imposed.
(If more than one, use another piece of paper and answer the same questions.)

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1. Court that imposed warning (if federal, give the district and division):

2. Case number:

3. Approximate date warning were imposed:

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(Date) , (Printed Name)

Belby ftw

(Bignature of Plaintiff)

PLAINTIFF’S DECLARATIONS

1.

I declare under penalty of perjury all facts presented in this complaint and attachment thereto are true and

correct.

I understand if I am released or transferred, it is my responsibility to keep the Court informed of my

current mailing address and failure to do so may result in the dismissal of this lawsuit.

l understand that I must exhaust all available administrative remedies prior to filing this lawsuit.

I understand I am prohibited from bringing an in forma pauperis lawsuit if I have brought three or more
civil actions in a Court of the United States while incarcerated or detained in any facility, which lawsuits
are dismissed on the ground they were frivolous, malicious, or failed to state a claim upon which relief

may be granted, unless | am under imminent danger or serious physical injury.

I understand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire
$250 filing fee and costs assess by the Court, which shall be deducted in accordance with the law from the

inmate account by my custodian until the filing fee is paid.

3st-

Signed this = day of Je. Bev Al ,20 0%

(Day) (Month) (Year)

BOBBY Blows

: (Printed Name)

Doble Lew

I(Signature of Plaintiff)

WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided in
response to the following questions will result in the imposition of sanctions. The sanctions the Court may
impose include, but are not limbed to monetary sanctions and/or the dismissal of this action with prejudice.

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